~ Gloria To Sharon Wiley/CA04/04/USCOURTS@USCOURTS
“NEEEEHS) Williams/MDD/04/USCOURT oc
a S
ste! 11/14/2008 02:31 PM bec

Subject Re: 8:04-cr-00235-RWT, US v. Learley R. Goodwin}

Sharon:

The transcript of June 22, 2006, was incorrectly docketed by the docket clerk.
The docket clerk mistakenly typed in "June 1, 2006" as the date of the
transcript instead of "June 22, 2006." That docket entry, No. 1127, has been
corrected and it now reflects the three transcripts which I filed on May 2,
2007, which were transcripts of June 22, 2006, August 1, 2006, and August 29,
2006.

Gloria I. Williams

Official Court Reporter
United States District Court
Greenbelt, Maryland 207706

301-344-3228

Sharon To Gloria Williams/MDD/04/USCOURTS@USCOURTS
Wiley/CA04/04/USCOURTS

11/13/2008 04:40 PM

ce
bec
Subject 8:04-cr-00235-RWT, US v. Learley R. Goodwin

Gloria,

| received an email about the certificate of filing the transcript, but | don't see the transcript of the
testimony of 6/22/06 filed on the d/ct docket sheet. Has that transcript been filed?

Thanks,

Sharon Wiley
(804) 916-2704
Cee Tg earipts/CADAOAUS To Sharon Wiley/CA04/04/USCOURTS@USCOURTS
URT.

Sent by: Carla Allison oe

bcc
Subject Re: Fw: Certificate of Filing of Transcripts 07-4059)

11/04/2008 09:26 AM

Carta A. Allison

Transcript Coordinator

4th Circuit Court of Appeals

(804) 916-2718
Cheryl Williamson/CA04/04/USCOURTS

Cheryl
AT ON CAOAIOAUSCOU To 4cca-Transcripts/CA04/04/USCOURTS@USCOURTS

11/03/2008 10:41 AM

cc
Subject Fw: Certificate of Filing of Transcripts

Cheryl M. Williamson

Personnel & Procurement Assistant

U. S. Court of Appeals for the Fourth Circuit
(804) 916-2722

Cheryl_Williamson@ca4.uscourts.gov
-—-- Forwarded by Cheryl Williamson/CA04/04/USCOURTS on 11/03/2008 10:41 AM —-

mH. Gloria

S Lae eee Williams/MDD/04/USCOURT To 4CCA-Clerk/CA04/04/USCOURTS@USCOURTS
& ee cc

eat 11/03/2008 10:28 AM

Subject Certificate of Filing of Transcripts

07-4115 US v. LaVon Dobie
07-4059 US v. Learley R. Goodwin
07-4062 US v. Lanora N. Ali
07-4060 US v. Paulette Martin
07-4080 US v. Derrek L. Bynum
07-4063 US v. Reece C. Whiting

Gloria I. Williams

Official Court Reporter
United States District Court
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301-344-3228
